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4
     Attorney for Defendant
5    REBECCA GUZMAN

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7
                            IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,              )     2:11-CR-00119-06 WBS
11                                          )
                               Plaintiff,   )
12                                          )     STIPULATION AND
     v.                                     )     ORDER TO MODIFY BRIEFING
13                                          )     SCHEDULE
                                            )
14   REBECCA GUZMAN,                        )
                                            )
15                           Defendant.     )
     __________________________________     )
16
             On November 7, 2016, Ms. Guzman filed her motion to reduce sentence
17
     pursuant to 18 U.S.C. § 3582(c)(2).    CR 271.   The government filed its
18
     opposition on December 13, 2016.   CR 275.   Pursuant to this Court’s order
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     filed on November 10, 2016, the date due for the reply brief was January 4,
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     2017.   CR 272.   Ms. Radekin was appointed to represent Ms. Guzman on December
21
     19, 2016.   CR 278.   Ms. Radekin needs additional time to obtain and review
22
     the records to determine if she is going to file and then to prepare the
23
     reply brief.
24
             Accordingly, the parties stipulate and request that the date due for
25
     the reply brief be modified to February 3, 2017.    Assistant United States
26
     Attorney Jason Hitt has indicated he has no objection to the modification of
27

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                 STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 1
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 1   the reply brief due date and has authorized Ms. Radekin to sign this

 2   stipulation on his behalf.

 3   IT IS SO STIPULATED.

 4   Dated: January 13, 2017                        PHILLIP A. TALBERT
                                                    Acting United States Attorney
 5
                                            By:     /s/ Jason Hitt
 6                                                  JASON HITT
                                                    Assistant United States
 7

 8   Dated: January 13, 2017                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
 9                                                  Attorney for Defendant
                                                    REBECCA GUZMAN
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11

12                                          ORDER

13            Pursuant to the unopposed request, and good cause appearing therefor,

14   it is hereby ordered that the date due for the reply brief to the

15   government’s opposition to defendant’s motion to reduce sentence pursuant to

16   § 3582(c)(2) be modified to February 3, 2017.

17   Dated:    January 17, 2017

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                  STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 2
